Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 1 of 38 PageID #: 87




           EXHIBIT C
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 2 of 38 PageID #: 88
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 3 of 38 PageID #: 89
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 4 of 38 PageID #: 90
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 5 of 38 PageID #: 91
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 6 of 38 PageID #: 92
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 7 of 38 PageID #: 93
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 8 of 38 PageID #: 94
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 9 of 38 PageID #: 95
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 10 of 38 PageID #: 96
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 11 of 38 PageID #: 97
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 12 of 38 PageID #: 98
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 13 of 38 PageID #: 99
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 14 of 38 PageID #: 100
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 15 of 38 PageID #: 101
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 16 of 38 PageID #: 102
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 17 of 38 PageID #: 103
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 18 of 38 PageID #: 104
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 19 of 38 PageID #: 105
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 20 of 38 PageID #: 106
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 21 of 38 PageID #: 107
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 22 of 38 PageID #: 108
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 23 of 38 PageID #: 109
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 24 of 38 PageID #: 110
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 25 of 38 PageID #: 111
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 26 of 38 PageID #: 112
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 27 of 38 PageID #: 113
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 28 of 38 PageID #: 114
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 29 of 38 PageID #: 115
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 30 of 38 PageID #: 116
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 31 of 38 PageID #: 117
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 32 of 38 PageID #: 118
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 33 of 38 PageID #: 119
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 34 of 38 PageID #: 120
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 35 of 38 PageID #: 121
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 36 of 38 PageID #: 122
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 37 of 38 PageID #: 123
Case 2:22-cv-00255-JRG-RSP Document 1-3 Filed 07/08/22 Page 38 of 38 PageID #: 124
